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                                                                                                                                                                                                     Karl P. Barth


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•                            HAGENS BERMAN
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                         The Honorable Victor Marrero
                         United States District Judge                                                                                                 ELECTRONICALLY FILED-.
                         Southern District of New York
                         United States Courthouse
                         500 Pearl Street, Suite 660
                         New York, NY 10007
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                                                 Re:                      In re China MediaExpress Holdings, Inc. Litig., No. 11-cv-804 {VM)

                         Dear Judge Marrero:

                                 I was appointed as Receiver of China MediaExpress Holdings, Inc. ("CCME" or the
                         "Company") by the Court on August 26, 2014. (ECF No. 230). In this capacity, I am writing to
                         respectfully request that the Court approve the requested attorneys' fee and reimbursement of
                         expenses to Gilbert, LLP related to its service as counsel to the Receivership related to recoveries
                         obtained from CCME's former insurers. This request supersedes my previous fee request for
                         Gilbert, LLP, which was related to only the settlement of claims related to the primary layer of
                         coverage. (Dkt. # 288). Gilbert, LLP has now completed its engagement related to these
                         insurance coverage claims. 1

                                  Gilbert, LLP was instrumental in obtaining these recoveries in the face of significant
                         legal risks. Prior to my appointment as Receiver, the insurers had denied coverage based upon
                         their interpretation of various contractual defenses, including their contentions that: i) the
                         policies contained an exclusion for fraudulent conduct; and ii) the policies were legally invalid
                         due to purported false statements in the insurance application (i.e., CCME's financial statements,
                         which were incorporated into the policy application). Heightening these legal risks was a
                         contractual choice-of-law provision requiring that disputes regarding the policy be settled under
                         decidedly unfriendly Hong Kong law. Indeed, we obtained an opinion from a Hong Kong law
                         firm specializing in insurance coverage disputes that our claims against the insurers had very
                         little chance of success if brought to trial or arbitration under Hong Kong law.

                                 The claims also carried significant financial risk to Gilbert, LLP beyond typical litigation
                         in U.S. Courts. The insurance policies included a forum-selection clause requiring arbitration of
                         the claims in Hong Kong. Arbitration in this forum would have dramatically increased the
                         expenses of bringing these claims in terms of travel expenses, translation costs and retention of

                              1 Gilbert, LLP has also completed its representation of the Receivership in other matters, for which it has
                         already been compensated. (Dkt. # 306). This current request is for fees and expenses related to the above-
                         referenced insurance coverage claims.



    SEATTLE                 BOSTON                       CHICAGO                        COLORADO SPRINGS                                       LOS ANGELES                          MINNEAPOLIS    NEW YORK   PHOENIX   SAN FRANCISCO    WASHINGTON, D.C.
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June 15, 2018
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local counsel in Hong Kong. Because the Receivership lacked any assets when it was retained,
Gilbert, LLP agreed to advance all expenses of the case, which could have been quite large in
relation to the potential recoveries available. This was a significant risk because, absent success
in these insurance claims, the Receivership was unlikely to have assets to repay these advanced
expenses.

       Prior to retaining Gilbert, LLP, I interviewed numerous other firms with experience in
insurance litigation, including a large, national firm, and two smaller firms. None of these other
firms was willing to pursue CCME's insurance claims on a contingent-fee basis. Gilbert, LLP
was the only firm willing to undertake this risk and advance potentially significant expenses, but,
understandably, was only willing to do so at a 50% contingency in light of the unusual risks.
Accordingly, my prior fee request related to the initial $3.3 settlement sought the reimbursement
of $20,066.15 in expenses incurred by Gilbert, LLP, and a requested fee of $1,639,966.92 (fifty
percent of the net recovery) for a total request of $1,659,973.07. (Dkt. # 288, p.4).

        However, subsequent to the initial fee request, the claims against all insurers were
resolved without Gilbert LLP having to incur the significant expenses related to arbitration in the
Hong Kong forum. Although they stood willing to advance these significant expenses, following
the $1.2 million settlement of the secondary layers of insurance, Gilbert, LLP agreed to forego
any fee on the $1.2 million settlement. Accordingly, Gilbert's requested fee of $1,639,966.92 is
not the contractual 50% contingency, but is instead approximately 36% of the net recoveries
obtained by the firm from CCME's insurers.

        In light of the excellent recoveries obtained by the firm for the Receivership and the
unusual and significant risks underlying the claims, I believe that Gilbert, LLP's requested fees
and expenses are reasonable and request authorization from the Court to pay Gilbert LLP in the
amount of $1,659,973.07 from the Receivership account.

                                              Sincerely,




                                              Karl P. Barth
